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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          )
                                                  )
               v.                                 )   No.     1:21-cr-28 (APM)
                                                  )
KELLY MEGGS, and                                  )
CONNIE MEGGS,                                     )
                                                  )
                         Defendants.              )

                    GOVERNMENT’S OPPOSITION TO DEFENDANTS’
                        MOTION FOR BILL OF PARTICULARS

       Defendants Kelly Meggs and Connie Meggs move under Federal Rule of Criminal

Procedure 7(f) for a bill of particulars. (ECF 155.) Whether a bill of particulars is appropriate lies

within this Court’s “sound discretion.” United States v. Mejia, 448 F.3d 436, 445 (D.C. Cir. 2006)

(quotation omitted). Exercising that discretion, the Court should deny the motion.

       A bill of particulars “ensure[s] that the charges brought against a defendant are stated with

enough precision to allow the defendant to understand the charges, to prepare a defense, and

perhaps also to be protected against retrial on the same charges.” United States v. Butler, 822 F.2d

1191, 1193 (D.C. Cir. 1987). It is not required, however, if the indictment “is sufficiently specific,

or if the requested information is available in some other form.” Id.; see United States v.

Lorenzana-Cordon, 130 F. Supp. 3d 172, 179 (D.D.C. 2015) (denying motion for bill of particulars

and noting that the government had provided extensive discovery that “allows Defendants to

adequately prepare for trial”).

       A bill of particulars “is not a discovery tool or a devise for allowing the defense to preview

the government’s theories or evidence.” United States v. Ramirez, 54 F. Supp. 2d 25, 29 (D.D.C.

1999); see also United States v. Brodie, 326 F. Supp. 2d 83, 91 (D.D.C. 2004) (same). Rather, a

bill of particulars “is intended to give the defendant only that minimum amount of information
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necessary to permit the defendant to conduct his own investigation and not to provide the defendant

with the fruit of the government’s investigation.” United States v. Sanford Ltd., 841 F. Supp. 2d

309, 316 (D.D.C. 2012) (internal quotation marks and citation omitted, emphasis in original).

Therefore, a bill of particulars “properly includes clarification of the indictment, not the

government’s proof of its case.” United States v. Martinez, 764 F. Supp. 2d 166, 173 (D.D.C.

2011) (internal quotation marks and citation omitted); United States v. Savoy, 889 F. Supp. 2d 78,

115 (D.D.C. 2012) (same).

       Applying this principle, judges of this Court have consistently denied motions for a bill of

particulars where, as here, the motion seeks details about the nature of the government’s evidence.

Thus, for example, in United States v. Han, 280 F. Supp. 3d 144, 149 (D.D.C. 2017), the Court

denied a motion for a bill of particulars requesting information about the basis for fraud and tax

charges against the defendant, including the precise representations allegedly made by the

defendant and the amount of taxes allegedly owed. The Court explained that the requested

information had already been provided to the defendant in discovery and elsewhere, and a “bill of

particulars is meant to allow a defendant to properly prepare for trial, not provide a method to force

the prosecution to connect every dot in its case.” Id.

       Similarly, in Brodie, the court denied a motion for a bill of particulars requesting “the

circumstances surrounding the alleged acts” of fraud committed by the defendants as well as “other

evidentiary details.” 326 F. Supp. 2d at 92. The court reasoned that the charges set forth in the

indictment were “detailed and alleged with particularity” and “the discovery provided by the

government has been voluminous,” and therefore there was “no reason for any further

particularization of the overt acts.” Id.

       Finally, in Sanford Ltd., the court denied a motion for a bill of particulars regarding the

“substance, time, place and date” of allegations regarding falsification of records and other charges
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against a corporate defendant. 841 F. Supp. 2d at 315. The court explained that “the general rule

in conspiracy cases is that the defendant is not entitled to obtain detailed information about the

conspiracy in a bill of particulars.” Id. at 317 (internal quotation marks and citation omitted).

Accordingly, the court denied the defendant’s request for information about the identities of its

employees alleged to have participated in the conspiracy and other details about the overt acts

charged in the indictment. Id. at 317-18.

         The same result is appropriate here for three reasons.        First, the third superseding

indictment provides extensive details outlining the allegations against the defendants. See Mejia,

448 F.3d at 445 (no bill of particulars required where the superseding indictment identified, among

other things, the object of the charged conspiracy, the conspiracy’s “time period,” the applicable

mens rea, and locations where conspirators acted). For example, the superseding indictment

outlines how and when the defendants communicated with other charged co-conspirators, planned

their travel, and collaborated with the other co-conspirators (and other individuals) to accomplish

the conspiracy’s object of obstructing the certification vote. Those detailed charges amply

“define[] each defendant’s role . . . in a manner sufficient to avoid surprise and permit defendants

to permit defendants to prepare a defense.” United States v. Pollack, 534 F.2d 964, 970 (D.C. Cir.

1976).

     Second, much of the requested information is already available or will soon be available to

the defendants. The government has produced preliminary informal discovery and has recently

begun to make a formal discovery production. This process is ongoing and will include, among

many other categories, complete cell phone extractions (including many Signal messages) and the

relevant surveillance and open source videos. Once the defendants have received and reviewed

the full discovery production, the defendants will have more than adequate basis to understand the

charges against them with sufficient precision to prepare for trial.
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       Finally, Rule 7(f) does not entitle the defendants to the granular information they seek. For

example, the defendants request (Mot. 2) “each and every statement upon which the government

intends to rely” related to the defendants’ intended entrance of the Capitol. But not only can the

defendants, through their own investigation and review of the government’s discovery materials,

identify their own statements, they are not entitled to “detailed information about the conspiracy”

through a bill of particulars. See Sanford Ltd., 841 F. Supp. 2d 309 at 315-16. A bill of particulars,

in short, is not a weapon that enables the defendants to “force the government to reveal all its

evidence before trial.” United States v. Taylor, 17 F. Supp. 3d 162, 178 (E.D.N.Y. 2014).

        For all these reasons, the defendants’ motion for a bill of particulars should be denied.

                                       Respectfully submitted,

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